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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:06CR3040
          v.                        )
                                    )
NOE GUSTAVO CHAVEZ LOYA,            )
                                    )                    ORDER
                Defendants.         )
                                    )




     Upon consideration of the defendant’s motion to continue
plea proceeding,

     IT IS ORDERED, the motion, filing 91, is granted and the
plea proceeding is continued until further order of the court.

     DATED this 29th day of January, 2007.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
